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Cp r eR

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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ELVIS SANCHEZ,
Plaintiff,
18 Civ. 1259 (IPC)
“Ye
VERDICT FORM
CAPTAIN WHITE, CAPTAIN MONROE, and
CORRECTION OFFICER DAIF,
Defendants. ‘
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I. Liability
A. Defendant Tamika White

Question 1:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Tamika White knew or should have known that the plaintiff
was incarcerated under conditions that posed a substantial risk of serious harm, yet
Defendant White either intentionally or recklessly failed to act with reasonable care to
mitigate such risk of harm?

Yes: No: i

if you answered “Yes” to Question 1, proceed to Question 2. If you answered “No” to
Question 1, proceed to Question 3.

Question 2:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Tamika White’s failure to mitigate this risk of harm
proximately caused the plaintiff's injuries?

Yes: No:

 
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B. Latonia Monroe

Question 3:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Latonia Monroe knew or should have known that the
plaintiff was incarcerated under conditions that posed a substantial risk of serious harm,
yet Defendant Monroe either intentionally or recklessly failed to act with reasonable care
to mitigate such risk of harm?

Yes: No: V/

if you answered “Yes” to Question 3, proceed to Question 4. If you answered “No” to
Question 3, proceed to Question 3.

Question 4:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Latonia Monroe’s failure to mitigate this risk of harm
proximately caused the plaintiffs injuries?

Yes: No:

C. Roy Daif

Question 5:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Roy Daif knew or should have known that the plaintiff was
incarcerated under conditions that posed a substantial risk of serious harm, yet Defendant
Daif either intentionally or recklessly failed to act with reasonable care to mitigate such
risk of harm?

Yes: No:

If you answered “Yes” to Question 5, proceed to Question 6. If you answered “No” to
Question 5, proceeded to Question 7, but only if you answer “Yes” to both Questions 1
and 2 and/or to both Questions 3 and 4. If not, your deliberations are complete and
proceed to the end of this form.

Question 6:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that, on
February 25, 2015, Defendant Roy Daif’s failure to mitigate this risk of harm proximately
caused the plaintiffs injuries?

Yes: No:
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Il. Damages

As noted above, you may only answer Question 7 if you answered “Yes” to (i) both
Questions | and 2; (ii) both Questions 3 and 4; and/or (iii) both Questions 5 and 6.

Question 7:

Has the plaintiff, Elvis Sanchez, proven by a preponderance of the evidence that he suffered

any compensatory damages as a result of the injury or harm proximately caused by any of
the defendants?

Yes: No:

if “Yes”: What amount of compensatory damages do you award?

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if“No”: You are required to enter an award of nominal damages in an amount not
to exceed one dollar ($1.00). What amount of nominal damages do you award?

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The Foreperson should ensure that each juror agrees with the answer to each Question answered
above. If so, your deliberations have concluded and the Foreperson and the jurors should sign

and date below. |
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Dated: October? | 2021

 
